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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

JOSHUA STOCKTON
ADC #169885                                                                            PLAINTIFF

v.                               Case No. 4:23-cv-00131 KGB-ERE

JOE PAGE, et al.                                                                   DEFENDANTS

                                               ORDER

          The    Court   has    reviewed    the   Partial   Recommended       Disposition   (“Partial

Recommendation”) submitted by United States Magistrate Judge Edie R. Ervin (Dkt. No. 72).

Plaintiff Joshua Stockton has not filed any objections, and the time to file objections has passed.

Accordingly, after careful consideration, the Court approves and adopts the Partial

Recommendation in its entirety as this Court’s findings in all respects (Id.). Mr. Stockton’s claims

against separate defendant Daniels are dismissed without prejudice for failure of service (Dkt. No.

2). The Clerk of Court is instructed to terminate separate Defendant Daniels as a party to this

matter.

          It is so ordered this the 19th day of February, 2025.


                                                              _____________________________
                                                              Kristine G. Baker
                                                              Chief United States District Judge
